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                           UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF KENTUCKY
                               OWENSBORO DIVISION


WILLIAM RANDALL LOGSDON,                       )
                                               )
              Plaintiff,                       )
                                               )
                                               ) No. 4:16-cv-137-HBB
       vs.                                     )
                                               )
                                               )
MSCB, INC.                                     )
                                               )
             Defendant,                        )


                           ORDER OF DISMISSAL WITH PREJUDICE

       Plaintiff, William Randall Logsdon, by counsel, and Defendant, MSCB, Inc., by counsel,

having filed with this Court their Agreed Stipulation of Dismissal with Prejudice and the Court

having reviewed same, now finds that this matter should be dismissed.

       IT IS THEREFORE ORDERED by this Court that the above cause of action be and the

same is hereby dismissed, with prejudice.

        July 7, 2017
Dated:________________________

                                            _______________________________________
                                            Judge, U.S. District Court

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